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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                  Plaintiff,             ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Judge Garland E.
11                                       ) Burrell, Jr.
                                         ) Time:   9:00 a.m.
12   Ernesto Salsedo, et.al.             ) Date:   November 30, 2007
                                         )
13                Defendants
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16        Defendants Ernesto and Rebeca Salsedo are charged in an
17   indictment alleging four counts of violations of 21 U.S.C. §§s
18   841(a)(1) & § 846 – Distribution and Conspiracy to Distribute Cocaine;
19   Possession of Cocaine with Intent to Distribute; and Manufacture of
20   Marijuana.    Ms. Salsedo is charged in counts one and three. A status
21   conference was previously set for September 28, 2007.      The parties
22   are involved in defense investigation, as well as negotiations and all
23   parties request that the current status conference be continued to
24   November 30, 2007, and that date is available with the Court.
25        The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
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     Dated: September 26, 2007           Respectfully submitted,
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 2

 3                                      __/s/ Shari Rusk___
                                        Shari Rusk
 4                                      Attorney for Defendant
                                        Rebeca Salsedo
 5

 6                                       /s/ Tony Serra & Ean Vizzi
                                         Tony Serra & Ean Vizzi
 7                                       Attorneys for Defendant
                                         Ernesto Salsedo
 8

 9
                                          /s/ Jason Hitt
10                                       Jason Hitt
                                         Assistant United States Attorney
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                                         ORDER
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           IT IS SO ORDERED.     The Court finds excludable time through
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     November 30, 2007, based on Local Code T4, giving counsel reasonable
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     time to prepare.
18
     DATED: September 28, 2007
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                                         GARLAND E. BURRELL, JR.
21                                       United States District Judge
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